        Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 1 of 14




                                   STATEMENT OF FACTS

        Your affiant,                  , is a Task Force Officer assigned to the Newark Federal
Bureau of Investigation (“FBI”) Field Office. I have been a Detective with the State of New Jersey,
Division of Criminal Justice and Office of Homeland Security and Preparedness since 2011. I have
been assigned to the Federal Bureau of Investigation (FBI), Joint Terrorism Task Force (JTTF),
Newark Division, as a Task Force Officer, since 2016. I have received specialized training
regarding investigative techniques, evidence collection, and evidence preservation. I have
participated in criminal investigations relating to counterterrorism, both international and domestic
terrorism. Through my training and experience, I am familiar with the strategy, tactics, methods,
ideology and practices of domestic terrorism and anti-government extremists. Currently, I am
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Task Force Officer with the FBI, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police (USCP) were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President



Statement of Facts – Page 1
        Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 2 of 14




Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        Earlier this day, at approximately 1:00 p.m., a crowd of violent rioters assembled on the
West Front of the United States Capitol. USCP formed a line of bike racks extending from the
north end of the West Front to the south end to act as a barrier against the crowd. Officers were
standing watch behind this line and fending off repeated attempts by the rioters to pull on the bike
racks, either with their hands or with ropes and straps.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. The crowd was not lawfully authorized to enter or remain in the building and, prior to
entering the building, no members of the crowd submitted to security screenings or weapons
checks by USCP officers or other authorized security officials. At such time, the certification
proceedings were still underway, and the exterior doors and windows of the United States Capitol
were locked or otherwise secured. Members of law enforcement attempted to maintain order and
keep the crowd from entering the United States Capitol.

        At approximately 2:30 p.m., significant sections of the police line on and near the United
States Capitol’s Lower West Terrace broke as the rioters in the crowd swarmed and overwhelmed
the law enforcement officers. Some of the rioters were able to penetrate the scaffolding, a position
that gave them access to the stairs to the upper terraces where there are several key doors, including
the doorway to the Lower West Terrace, also referred to as the “tunnel.” Officers from the USCP
and the Washington, D.C. Metropolitan Police Department (MPD) formed a police line in the
tunnel blocking that entrance to the United States Capitol building and were repeatedly fending
off assaults by some of the rioters. At approximately 2:42 p.m., rioters began entering the tunnel
and ambushing the officers. The rioters broke the glass and forced the doors open. In response, the
USCP and MPD officers formed a police line blocking that entrance to the U.S. Capitol building.
From approximately 2:42 p.m. and on, numerous rioters were consistently attempting to breach
the police line that formed in the tunnel. The rioters used various weapons, as well as the force of
their bodies, in an attempt to overcome the officers. Many of the rioters assaulted MPD and USCP
officers by hurling objects towards the officers, physically striking officers with batons and other
blunt instruments, using lights to distract and disorient the officers, using electrical shock devices,
crushing officers between the doors and walls of the confined space, and by deploying chemical
sprays and fire extinguishers against the officers.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.




Statement of Facts – Page 2
        Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 3 of 14




                     FACTS SPECIFIC TO LARRY FIFE GIBERSON

        Based on an initial review of publicly available video footage on January 6, 2021, a white
male wearing a blue baseball cap with the words “TRUMP Make America Great Again” on it, a
black and grey gaiter with the American Flag on it, a Trump flag around his neck, and a dark
colored jacket, who has been identified as LARRY FIFE GIBERSON, as described below, can be
seen obstructing, impeding, and interfering with law enforcement officers guarding the United
States Capitol.

        A review of USCP surveillance footage, MPD BWC footage, and videos posted on
YouTube and other open source platforms revealed GIBERSON engaged in a violent assault
against multiple law enforcement officers in the tunnel. The “tunnel” is a narrow point of entry
on the Lower West Terrance of the Capitol, circled below:




                                             Figure 1

        In a YouTube video that appeared to be taken prior to the assault, GIBERSON could be
seen at the steps leading up to the tunnel. At this time his gaiter was down around his neck, as
seen in Figure 2 below.




                                             Figure 2

      At approximately 3:08 p.m. on January 6, 2021, GIBERSON was captured on video
making his way up the stairs towards the tunnel entryway. His gaiter was now up around his face,


Statement of Facts – Page 3
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 4 of 14




as seen in Figure 3. He then turned and shouted something to the crowd as he made his way up
the steps, as seen in Figure 4. GIBERSON then arrived at the tunnel entryway and proceeded
inside, as seen on CCTV captured in Figure 5 below.




                                          Figure 3




                                          Figure 4




                                          Figure 5

         At approximately 3:10 P.M., GIBERSON proceeded inside the tunnel towards the front
line of the struggle against the police, as seen in Figure 6 below.


Statement of Facts – Page 4
        Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 5 of 14




                                            Figure 6

        By 3:12 P.M., the first coordinated “heave-ho” pushing effort amongst the rioters
commenced as they tried to force their way through the police line and into the Capitol. The blue
hat of GIBERSON can be seen at the front line as GIBERSON and other rioters push against the
line of police as the officers attempt to guard the entrance to the building, as seen in Figure 7
below.




                                            Figure 7

        Aound this time, MPD Officer D.H. was crushed between rioters and the tunnel doors for
several seconds. While this was occurring, GIBERSON was still at the front line of the tunnel
fight with the police officers as seen in Figure 8 below.




Statement of Facts – Page 5
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 6 of 14




                                            Figure 8

         At approximately 3:13 P.M., GIBERSON turns and shouts something to the crowd of
rioters. The command of “Another shield! Another shield!” can be heard from another rioter.




                                            Figure 9



      At approximately 3:14 P.M., GIBERSON was pushed back from the front line but
remained in the tunnel, as seen in Figure 10 below.




Statement of Facts – Page 6
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 7 of 14




                                           Figure 10

       At 3:15 P.M., GIBERSON rushed to the tunnel entryway and began waving rioters into
the tunnel. GIBERSON ushered rioters into the tunnel for several seconds, as seen in Figures 11
and 12 below.




                                           Figure 11




Statement of Facts – Page 7
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 8 of 14




                                           Figure 12

        At approximately 3:16 P.M., after waiving more rioters towards the front lines of the
police guarding the tunnel, GIBERSON returned to the tunnel to participate in a second round of
coordinated pushing against the police, as seen in Figure 13 below.




                                           Figure 13




Statement of Facts – Page 8
        Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 9 of 14




       By 3:19 P.M., most of the rioters had been pushed out of the tunnel by police, including
GIBERSON. Shortly after, Officer M.F. was dragged from the tunnel by rioters. At
approximately 3:20 P.M., GIBERSON shouted something in the direction of the rioters who
were assaulting Officer M.F., as seen in Figure 14 below.




                                            Figure 14

      At approximately 3:22 P.M., GIBERSON remained on the stairs leading up to the tunnel
entryway and remained there for upwards of an hour, as seen Figures 15 and 16.




                                            Figure 15




Statement of Facts – Page 9
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 10 of 14




                                            Figure 16

At approximately 3:59 P.M., GIBERSON was seen watching the intensifying violence against
police at the tunnel entryway. He occasionally leaned into the crowd to help push against the
police as seen in Figure 17 below.




                                            Figure 17

       At approximately 4:01 P.M., calls to pull police officers out of the tunnel are heard. At
approximately 4:02 P.M., GIBERSON tries to start a “Drag them out!” chant, but it does not
catch on. He yells “drag them out!” at least three times. He then cheers as weapons and pepper
spray are used against police in the tunnel. See Figures 18 and 19 below.




Statement of Facts – Page 10
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 11 of 14




              Figure 18                                                Figure 19

        Following the January 6 attack, images of GIBERSON participating in the riot appeared
on the internet. Based on the images, the FBI created a profile for GIBERSON as moniker
“AFO-515.” The FBI posted images of GIBERSON to its website and to social media, including
the below images in Figure 20, to garner public assistance in identifying GIBERSON.




                                               Figure 20
                                     FBI.gov/wanted/capitol-violence

       Further research on open source revealed GIBERSON was referenced in various open
source channels by the moniker #DragThemOut as seen in Figure 21 below.




Statement of Facts – Page 11
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 12 of 14




                                            Figure 21

        The above photo of GIBERSON revealed a possible match to several images found via
Instagram and Princeton.edu. Information available through open source searching online showed
a possible match to a high school student at Southern Regional High School in Stafford Township,
New Jersey and the Princeton University French and Italian Department. Both images looked like
the person identified in the photographs above, including poster AFO-515. Using that information,
FBI a searched online for students who graduated from the above-mentioned High School. The
Southern Regional High School website included an image of a 2019 graduate named LARRY
WAYNE GIBERSON, as seen below in Figure 22, and the entry stated that GIBERSON intended
to attend Princeton University. The WFO then submitted LARRY WAYNE GIBERSON’s
identifiers to the New Jersey Motor Vehicle Commission to retrieve a Driver’s License Photo. The
return came back with a corrected name of LARRY FIFE GIBERSON due to a recent name
change, but appeared to be the same individual in Figure 22 and #515-AFO.




                                               Figure 22
                      Srsd.net/PressReleases/PressRelease/eFhBcWVVK20xY0090




Statement of Facts – Page 12
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 13 of 14




        The FBI subsequently interviewed GIBERSON at the Princeton Police Department (PD)
in Princeton, New Jersey while in the presence of GIBERSON’s attorney. During the interview,
GIBERSON confirmed to affiant that he was the individual seen in several photos and video clips
taken from open source platforms, identified previously as #515-AFO, including the images seen
in Figures 20 and 21.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
LARRY FIFE GIBERSON violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or
attempt to commit any act to obstruct, impede, or interfere with any fireman or law enforcement
officer lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

         Your affiant submits that there is also probable cause to believe that GIBERSON violated
18 U.S.C. §§ 1752(a)(1) and (4), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (4) knowingly engages in any
act of physical violence against any person or property in any restricted building or grounds or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.




Statement of Facts – Page 13
       Case 1:23-mj-00055-GMH Document 1-1 Filed 03/10/23 Page 14 of 14




       Your affiant submits there is also probable cause to believe that GIBERSON violated 40
U.S.C. §§ 5104(e)(2)(E) and (F) which makes it a crime to willfully and knowingly (E) obstruct,
or impede passage through or within, the Grounds or any of the Capitol Buildings; and (F)
engage in an act of physical violence in the Grounds or any of the Capitol Buildings.


                                                  Respectfully submitted,




                                                   Task Force Officer
                                                   Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 10th day of March, 2023.                               Digitally signed
                                                                    by G. Michael
                                                                    Harvey
                                                   ___________________________________
                                                   HONORABLE G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE




Statement of Facts – Page 14
